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                  EXHIBIT 6
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                                                    U.S. Department of Justice

                                                    Civil Division, Fraud Section




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Washington, D.C. 20004
                                                    November 28, 2006
Via Electronic Transmission

R. Christopher Cook
Jones Day
51 Louisiana Ave., N.W.
Washington, DC 20001-2113


Re:     U.S. ex rel. Ven-a-Care of the Florida Keys Inc v. Abbott Laboratories, MDL No.
        1456/Civil Action No. 01-12257-PBS

Dear Chris:

        We have your letter of November 19, 2006, in which you request that the United States
produce documents that have been withheld based on the deliberative process privilege from
prior productions responsive to defense subpoenas served on the Department of Health and
Human Services in the AWP MDL and Lupron MDL. The bulk of your letter is devoted to
whether the deliberative process privilege has been properly asserted by the United States with
respect to the materials in question. Your letter does not address the more fundamental question
of how these documents are relevant or reasonably calculated to lead to the discovery of
admissible evidence, particularly in light of Judge Saris’s recent ruling in the MDL proceeding.
See November 2, 2006 Memorandum and Order on the meaning of AWP (“the AWP Order”).

         The AWP Order states that the “Court construes the statutory term [AWP] according to
its plain meaning and holds that AWP means the average price at which wholesalers sell drugs to
their customers, including physicians and pharmacies.” Order at 1. There is support in the First
Circuit for Judge Saris’s decision. United States v. Lachman, 387 F.3d 42 (1st Cir. 2004). In
Lachman, the First Circuit found that in determining the meaning of a regulation, agency
interpretations are only relevant if they are reflected in public documents as opposed to non-
public or informal understandings of agency officials. Id. at 54.

       According to your letter at page 3, “Abbott is entitled to seek discovery into why the
Medicare and Medicaid programs continued to use published AWPs despite the fact that
government officials and agents knew published AWPs did not represent average prices paid by
providers and pharmacies to acquire drugs, particularly generic drugs.” However, in reaching her
determination regarding the plain meaning of “AWP,” Judge Saris found that “the legislative and
regulatory history does show that at some point, knowledgeable persons in the industry and
government came to understand that the ‘average wholesale price’ as published in industry
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                                               -2-

compendia overstated the average acquisition cost paid by a provider.” AWP Order at 17. Given
that Judge Saris went on to construe the term “AWP” pursuant to its plain language, it appears
that any factual issue regarding the government’s knowledge regarding the accuracy of reported
AWPs was deemed irrelevant to the meaning of AWP. Moreover, because defendant’s scienter
cannot be determined from agency deliberations, and the AWP Order obviates the need for
defendant to obtain non-public information concerning the agency’s deliberations on the meaning
of AWP, we do not fully understand the basis for your request.

        We look forward to hearing your thoughts on the foregoing in the hopes that we may
attempt to resolve this matter without the need for motions practice. Given that the relevancy
issue discussed above is fundamental to your request for access to the documents in question, it
makes sense to us to consider that issue before we address the arguments you have advanced
concerning the propriety of the Government’s privilege assertions.

       Thank you for your attention.

                                            Very Truly Yours,


                                                  /s/
                                            Justin Draycott
                                            Trial Attorney
                                       Commercial Litigation Branch

cc:    George Henderson
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